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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

 MASSACHUSETTS FAIR HOUSING
 CENTER; INTERMOUNTAIN FAIR
 HOUSING COUNCIL; SAN ANTONIO
 FAIR HOUSING COUNCIL, INC., d/b/a
 FAIR HOUSING COUNCIL OF SOUTH                          Civil Action No. 3:25-cv-30041-RGS
 TEXAS; and HOUSING RESEARCH AND
 ADVOCACY CENTER, d/b/a FAIR
 HOUSING CENTER FOR RIGHTS &                            Judge Richard G. Stearns
 RESEARCH, INC., on behalf of themselves
 and all those similarly situated,

                 Plaintiffs,
        v.

 THE DEPARTMENT OF HOUSING AND
 URBAN DEVELOPMENT, SCOTT
 TURNER, in his official capacity as
 Secretary of Housing and Urban
 Development, U.S. DOGE SERVICE, U.S.
 DOGE SERVICE TEMPORARY
 ORGANIZATION, and AMY GLEASON, in
 her official capacity as Acting Administrator
 of U.S. DOGE Service and U.S. DOGE
 Service Temporary Organization,

               Defendants.


                                     NOTICE OF APPEAL

       Notice is hereby given that Plaintiffs Massachusetts Fair Housing Center, Intermountain

Fair Housing Council, San Antonio Fair Housing Council Inc. d/b/a Fair Housing Council of

South Texas, and Housing Research and Advocacy Center d/b/a Fair Housing Center for Rights

& Research Inc., on behalf of themselves and those similarly situated, hereby appeal to the

United States Court of Appeals for the First Circuit from the District Court’s (Stearns, R.) April

14, 2025 Order, ECF No. 42 (docketed on April 14, 2025).
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Dated: April 16, 2025                     Respectfully submitted,

                                          /s/ Lila Miller
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                                 CERTIFICATE OF SERVICE

        I hereby certify that that the foregoing document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing to
be served upon counsel of record by email.



                                                       /s/ Lila Miller
                                                       Lila Miller
Dated: April 16, 2025




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